        Case 2:09-cr-20026-PKH                            Document 184           Filed 01/13/12           Page 1 of 1 PageID #: 591
AO247 (Rev. ll/ll)    OrdcrRcgardingMotion
                                         for Sentence
                                                    Reduotion
                                                            Pursuantto
                                                                     l8 U.S.C.$:Sgz("Xz)                      PageI of 2 (Page2 Not for PublicDisclosure)


                                        UNttrEnSrarES DTSTNICT
                                                             COURT
                                                                          for the

                                                           Western      District of        Arkansas

                     United Statesof America

                                                                                CaseNo:        2;09CR20026-005
                         MichaelWhitfield
                                                                                USMNo: 09074-010
Date of Original Judgment:                            Februarv
                                                             16.2010
Date of PreviousAmendedJudgrnent:                                               ProSe
(Use Date of Last AmendedJudgnzentif Atty)                                      Defendant'sAttornev


                     ORDERREGARDINGMOTION FOR SENTBNCERBDUCTION
                             PURSUANTTo rB U.S.C.$ 3s82(c)(2)
      Uponrnotionof E the defendantI theDirectorof theBureauof PrisonsF ttrecourtunderl8 U.S.C.
g 35S2(cX2)for a reduction in thetennof imprisonrnent imposed  basedon a guideline
                                                                                 sentencingrangethathas
subsequentlybeen  lowered and  made           by
                                    retroactive  the United       Sentencing
                                                             States          Commission pursuantto 28 U.S.C.
$ 994(u),andhavingconsidered    suchmotion,andtakingintoaccount   the policy        set
                                                                            statement  forthat USSG  $lB I .10
andthesentencing  factorssetforth in l8 U.S.C.$ 3553(a),to theextentthattheyareapplicable,
IT IS ORDEREDthatthemotionis:
                                                                                (asreflected
                                                                  of irnprisonment
                                          previouslyimposedsentence
       fl nEUmn. tr GRANTEDandthedefendant's                                              in
the lastjudgment issueQof                             64                 monthsis reducedto                              42
                                                 (Complete Parts I and II of Page 2 when motion is granted)




                                                                                                          US DISTRICT COI.IRT
                                                                                                        WESTERN DIST ARKANSAS
                                                                                                                FILED

                                                                                                                     JAN| 3 Z0tZ
                                                                                                              CHRISR.JOHNSON,
                                                                                                                           CIerK
                                                                                                               By
                                                                                                                        DeputyCle*




                                        of thejudementJted
Exceptas otherwiseprovided,all provisions                                                                        shall remain in effect.



                                                                        \l
IT IS SO ORDERED.

OrderDate:                    0vt3t20t2                               -_-\
                                                                                                     Judge's signature
                                                                         \

EffectiveDate:                                                                              R obertT. DawsonU.S.DistrictJudge
                                                                                    Honorable
                     1y i yJ'e
                             r ent 7, oi- or der tlate)                                            Printed name and title
